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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :
                                                                                      2/28/2018
SCOTT HILL,                                               :
                                                          :
                                        Plaintiff,        :
                                                          :      17-CV-1420 (VSB)
                      -against-                           :
                                                          :            ORDER
CITY OF NEW YORK, et al.,                                 :
                                                          :
                                        Defendants. :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        Plaintiff commenced the instant action by filing his Complaint on January 26, 2017

against the City of New York, the New York City Police Department, and John Doe Court

Officers and Police Officers (collectively, “Defendants”), alleging that Defendants violated his

constitutional rights by unlawfully arresting and assaulting him. (Doc. 1.) On December 27,

2017, I issued an Order of Service in which I dismissed the claims against the New York City

Police Department and directed, under Valentin v. Dinkins, 121 F.3d 72, 76 (2d Cir. 1997), that

the New York City Police Department and the New York State Attorney General identify the

John Doe Police Officers and Court Officers who Plaintiff alleges unlawfully arrested or

assaulted him (“December 27 Order”). (Doc. 10.) On February 26, 2018, in response to a letter-

motion from Corporation Counsel requesting additional information and an extension of time,

(Doc. 12), I issued an Order granting an extension and directing Plaintiff to provide a detailed

physical description of the Police Officers and Court Officers that he seeks to name as

defendants (“February 26 Order”), (Doc. 14).

        Before me is a letter-motion from the New York State Attorney General also requesting

additional information and an extension of time. (Doc. 15.) For the same reasons set forth in my
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February 26 Order, I grant the New York State Attorney General’s Office until April 27, 2018 to

respond to the December 27 Order. I further direct Plaintiff to send his descriptions, due on or

before March 16, 2018, to Assistant Attorney General Michael Siudzinski at the New York State

Attorney General’s Office, 120 Broadway, New York, New York 10271, in addition to submitting

them to Assistant Corporation Counsel Allyson Brown and my Chambers. The Clerk of Court is

respectfully requested to mail a copy of this Order to the pro se Plaintiff.

SO ORDERED.

Dated:         February 28, 2018
               New York, New York
                                                     ____________________
                                                     Vernon S. Broderick
                                                     United States District Judge
